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THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

THEOPHILUS TARI AGEDAH,
Plaintiff :
Vv. : 3:20-CV-868
: (JUDGE MARIANI)
U.S. DEPARTMENT OF
HOMELAND SECURITY, et al.
Defendants
| U, ORDER
AND NOW, THIS / DAY OF SEPTEMBER, 2020, upon review of
Magistrate Judge Mehalchick’s Report and Recommendation (“R&R”) (Doc. 16) for clear
error or manifest injustice, IT IS HEREBY ORDERED THAT:
1. The R&R (Doc. 16) is ADOPTED for the reasons set forth therein.
2. Plaintiffs Complaint (Doc. 1) is DISMISSED WITHOUT PREJUDICE to the right to
file an amended complaint.
3. To the extent that Mr. Agedah challenges his detention and seeks release from
custody, he shall file a separate petition for writ of habeas corpus.

4. Plaintiff may file an Amended Complaint within 28 days of the date of this Order

which shall consist of a single document setting forth the specific events which

 

1 Following the filing of Magistrate Judge Mehaichick's R&R (Doc. 16), Plaintiff filed a document
entitled “Leave to Amend/Supplement Plaintiff Civil Complaint Bivens Action” (Doc. 17). Although the Court
deems this as a response to the R&R, the document does not consist of objections thereto, but rather is

construed by this Court as a request to amend the complaint in an attempt to correct the defects identified
in the R&R.
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serve as a basis for Plaintiffs claims, the individuals and/or entities involved in
these claims, the harm suffered by Plaintiff as a result of Defendants’ actions, and
the relief he is seeking in this case.

5. Plaintiffs request for a “Preliminary Injunction preventing DHS/ICE from removing
petitioner to Nigeria or any other African Country, or others” (see Doc. 1, at 5; Doc.
3) is DENIED.

6. Because this Court is granting Plaintiff leave to file an amended complaint by
adopting the R&R, Plaintiffs motion entitled “Leave to Amend/Supplement Plaintiff
Civil Complaint Bivens Action” (Doc. 17) is DISMISSED AS MOOT.

7. The case is REMANDED to Magistrate Judge Mehalchick for further proceedings

consistent with this Order.

  

WMWMALtL

 

Robert D. Mariani 7
United States District Judge
